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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )           CASE NO. 8:04CR206
                                              )
      vs.                                     )
                                              )                    ORDER
CARLOS CARREON,                               )
                                              )
                    Defendant.                )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Carlos Carreon (Filing No. 283).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Carlos Carreon (Filing No. 283) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 28th day of July, 2005, at the hour of8:45 a.m. in Courtroom No. 2,

             Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 15th day of July, 2005.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
